                   Case 3:17-cv-01943-BJM Document 299-2 Filed 08/11/20 Page 1 of 11




                           UNSWORN DECLARATION UNDER PENALTY OF PERJURY
           I, Faustino Xavier Betancourt Colon, and under penalty of perjury declare:


           1.       My name is Faustino Xavier Betancourt Colon. I live in Residencial Los Lirios, Cupey,

                    Puerto Rico. I serve my community as a spokesperson and leader since September 2017,

                    immediately after hurricane Maria. I am person with disabilities. See images attached to

                    this declaration.

           2.       On Friday, August 7, 2020, I visited a supermarket known as Econo Rial located within a

                    shopping center known as "Centro Comercial Plaza Rial" and also known as "Canovanas

                    Plaza Rial Shopping Center". The Econo Rial supermarket and the shipping center are

                    located in Road No. 185 KM 9, Canovanas, Puerto Rico, 00729 (GPS Coordinates:

                    18.374170, -65.901623). To provide additional confirmation of my visit to the Econo Rial

                    supermarket, I have attached to this declaration a purchase receipt that confirms that I paid

                    at the supermarket the amount of $48.32.

           3.       On Friday, August 7, 2020, I found that there were designated accessible parking spaces at

                    the parking lot of the Econo Rial supermarket. I say that some parking spaces were

                    designated as accessible because I was able to observe signage with the international

                    symbol of accessibility. To further confirm my statement, the several photos were taken by

                    me on August 7, 2020 on or around 1:45 p.m. and are attached to this declaration.




                                                              1



Document Ref: QZNG7-R2WRF-GVAR4-MKTU7                                                                               Page 1 of 10
                   Case 3:17-cv-01943-BJM Document 299-2 Filed 08/11/20 Page 2 of 11




           4.       The purpose of the following image is to provide context. The building where the

                    supermarket is located can be observed. The logo of the Econo Rial supermarket can be

                    observed on the top right ("ECONO" in blue and white color). Some accessible signage

                    can be observed on the background, but additional images below provide a better view.




                                                           2



Document Ref: QZNG7-R2WRF-GVAR4-MKTU7                                                                       Page 2 of 10
                   Case 3:17-cv-01943-BJM Document 299-2 Filed 08/11/20 Page 3 of 11




           5.       The following image show multiple parking spaces designated as accessible, but there are

                    no markings on the pavement. This image on this page was also taken on August 7, 2020,

                    contemporaneously.




                                                           3



Document Ref: QZNG7-R2WRF-GVAR4-MKTU7                                                                          Page 3 of 10
                   Case 3:17-cv-01943-BJM Document 299-2 Filed 08/11/20 Page 4 of 11




           6.       The following image provides an additional close-up. I observed no markings on the

                    desginated accessible parking area. In fact, what I observed was gravel on the surface with

                    no markings. (The pavement was uneven because of the gravel). I observed absolutely no

                    markings on the surface. However, I observed that most parking spaces not designated as

                    accessible had markings (yellow stripes) with a defined width. This image was also taken

                    on August 7, 2020, contemporaneously:




                                                             4



Document Ref: QZNG7-R2WRF-GVAR4-MKTU7                                                                             Page 4 of 10
                   Case 3:17-cv-01943-BJM Document 299-2 Filed 08/11/20 Page 5 of 11




           7.       There are absolutely no markings on the pavements to mark the location and width of the

                    accessible parking spaces.

           8.       I am willing and able to testify about my observations and knowledge of the parking lot if

                    I am summoned to testify.

                    I, Faustino Xavier Betancourt Colón, under penalty of perjury declare that the foregoing is

           true.


                    Dated:
                   Aug-11-2020


                                                  FAUSTINO XAVIER BETANCOURT COLON




                                                             5



Document Ref: QZNG7-R2WRF-GVAR4-MKTU7                                                                             Page 5 of 10
                   Case 3:17-cv-01943-BJM Document 299-2 Filed 08/11/20 Page 6 of 11




                                                   6



Document Ref: QZNG7-R2WRF-GVAR4-MKTU7                                                  Page 6 of 10
                   Case 3:17-cv-01943-BJM Document 299-2 Filed 08/11/20 Page 7 of 11




                    Image: Mr. Faustino Betancourt Colón.




                                                            7



Document Ref: QZNG7-R2WRF-GVAR4-MKTU7                                                  Page 7 of 10
                   Case 3:17-cv-01943-BJM Document 299-2 Filed 08/11/20 Page 8 of 11




                    Image: Red shirt: Mr. Faustino Betancourt Colón.




                                                           8



Document Ref: QZNG7-R2WRF-GVAR4-MKTU7                                                  Page 8 of 10
                   Case 3:17-cv-01943-BJM Document 299-2 Filed 08/11/20 Page 9 of 11




                    To the right in white shirt: Faustino Xavier Betancourt Colon (observe swelling on legs)




                                                            9



Document Ref: QZNG7-R2WRF-GVAR4-MKTU7                                                                          Page 9 of 10
                   Case 3:17-cv-01943-BJM Document 299-2 Filed 08/11/20 Page 10 of 11




                    To the right in blue shirt: Faustino Xavier Betancourt Colon.




                                                            10



Document Ref: QZNG7-R2WRF-GVAR4-MKTU7                                                   Page 10 of 10
   Case 3:17-cv-01943-BJM Document 299-2 Filed 08/11/20 Page 11 of 11




                   Signature Certificate
             Document Ref.: QZNG7-R2WRF-GVAR4-MKTU7

Document signed by:

                 Faustino Betancourt
                 E-mail:
                 faustinobetan84@gmail.com
                 Signed via link

                 IP: 99.203.71.164     Date: 11 Aug 2020 05:43:22 UTC



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                         11 Aug 2020 05:43:22 UTC
                                     Page 1 of 1




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